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 8
 9                                UNITED STATES DISTRICT COURT
10                                      DISTRICT OF NEVADA
11
     LAS VEGAS POLICE PROTECTIVE ASSOCIATION
1
 -   METRO INC.; LAS VEGAS POLICE PROTECTIVE
13   ASSOCIATION CIVILIAN EMPLOYEES, rNC. LAS                    CASE NO.
     VEGAS METRO POLICE MANAGERS &
14   SUPERVISORS ASSOCIATION,
                                                                 DECLARATION OF JOHN FAULIS
15                                                               E4 SUPPORT OF MOTION FOR
                    P1
                     arnti•ffs,                                  PRELIMINARY INJUNCTION
16
            vs.
17
     LAS VEGAS METROPOLITAN POLICE
18   DEPARTMENT;
19
                    Defendant.
20
21
22   1, JOHN FAULTS, declare:

23       1. lam the Chairman of Plaintiff Las Vegas Police Managers & Supervisors Association
24          Metro (“PMSA”) and a Metro officer on frill-time paid leave to work for the PMSA
25          pursuant to our Association’s collective bargaining agreement with Metro. The PMSA

26          represents a bargaining unit of approximately 430 officers, of which approximately 405

27          are PMSA members. All the PMSA’s field representation is provided by myself; another

28          full release officer, and other Metro officers on part-time leave. A true and correct copy
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     1     of the applicable CBA leave provision is attached hereto as Exhibit A. Similar provisions
 2         have been in prior agreements for many years. Our agreement is set to expire July 1,
 3         2016. Metro has made clear it will not continue those provisions in effect unless our
 4         Association grants concessions equal to the value of such funding or directly reimburses
 5         Metro, even though we believe we gave consideration for those provisions in prior
 6         agreements.
 7                 2.      A significant part of our PMSA activities is to help direct the
 8         administration of human resources and health benefits for Metro officers and their
 9         families, as Metro does not have a single person performing benefit fimctions, unlike
10         what most other employers do. Two of us on-leave PMSA representatives use some of
11         our leave Lime to sit on the board of trustees governing the health plan; most of that work
12         is nonadversarial in nature.
13                 3.      If I and my fellow PMSA representatives are deprived of this union leave,
14         we do not have sufficient vacation tine to cover more than a small percentage of the
15         work we have been doing. and accordingly either the PMSA will have to begin paying us
 6         directly or we will have to curtail our representational activities. Neither I nor my fellow
17         representatives would want to go onto the PMSA payroll because we would be taken out
18         of the health benefit and PERS plans (which would cost us significantly but not in a way
19         that could be readily calculated). PMSA cannot afford except on a very-short-term basis
20         to pay for all of us representatives without drastically curtailing our other representational
21         activities such as lobbying and provision of legal counsel to members. To reimburse
22         Metro or pay for us to be on the PMSA payroll, our association would have to increase
23         dues receipts substantially, but there would be siificant opposition to a dues increase
24         and such an increase would cause some members to drop out. Once members drop out,
25         we will be less effective as an organization because we will speak for a smaller
26         percentage of the department’s officers, and not be in much communication with the
27         non-union officers (who will not be on our mailing lists and will not have the right to
28         attend meetings or vote). If dues increase, members would demand the PMSA seek
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 1      higher wages at the bargaining table to cover this increase, which will increase the
 2      difficulty and cost of negotiations for Metro and PMSA, and consume more lime and
 3     resources for both the PMSA and management.
 4             4.      We on-leave representatives spend much of our time communicating with
 5      legislators and managers about Metro employees’ needs and problems, and we also
 6      communicate with the employees about proposed legislation and proposed or past
 7     management decisions, including bargaining issues and grievances. Some of our work
 8     arises due to the provisions in NRS 289.080 that a peace officer under investigation for
 9     misconduct is entitled to have two representatives present during his or her interrogation
10     or hearing. If SB 241 is implemented by Metro we will likely not be able to fully staff
11     such interrogations and hearings.
12             5.      Some of what we do with our paid leave is to encourage Metro employees
13     to join the PMSA, and we will no longer be able to do that to the same extent if we have
14     our leave hours cut, and hence the PMSA is likely to lose dues revenue from that
15     reduction in organizing.
16             6.      Metro has provided paid leaves within the past several years for
17     employees to work for and with the following groups that engage in advocacy work:
18     Nevada Chiefs and Sheriffs Associations; Police Athletic League; Black Police Officers
19     Association, Latino Peace Officers Association; DARE (now disbanded); and crisis
20     intervention groups. Metro also has sent managers on paid status to lobby in Carson City
21     and before the County and various cities. We are aware of no legislative ban on such
22     activities, but only on our paid leave.
23             7.      Metro and the public all benefit from us having paid leave: (a) Metro
24     might well have to pay more if it were to hire other individuals or entities to handle the
25     health benefit functions that we perfonn; (b) we are more familiar with Metro’s current
26     conditions than someone hired from the outside to represent these employees would be,
27     and we have access to areas which a civilian is ordinarily barred from such as jails and
28     crime scenes where we do much of our work investigating use-of-force incidents; having

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     1           outside representatives take over for us would require Metro go through the process of
     2           determining whether to grant them security clearances; (c) being on paid leave allows us
 3               to conduct grievance meetings, investigative meetings, committee meetings and meet-
 4               and-confer sessions during our managers’ regular worlcdays rather than expecting them to
 5               meet after hours or on their days off both we and our management counterparts would
 6               end up working excessive hours and becoming exhausted (and hence perhaps dangerous
 7               to ourselves and others) if every meeting had to occur outside representatives’ regular
 8               work hours; (d) our being available immediately on the job allows meetings to occur
 9               while or limnediately after a problem occurs on the job (and at a time and place where we
10               representatives can directly observe conditions), rather than having to occur long after the
11               fact and away from the worksite because the representative was instead required at the
12               time of events to be on duty elsewhere at the agency. This makes for sounder
13               decisionmaking on the part of both management and our Association.
14                       8.     We at the PMSA reduce Metro’s problems in recruitment and retention of
15               public employees and morale problems by gathering information from current and
16              prospective employees and the community and providing it to government officials, and
17              by communicating information to Metro employees. Many times we have counseled
18              employees with performance issues to obtain outside help with their personal problems,
19              problems they never would have admitted to management representatives.
20                      9.      I have read the Complaint in this action and it is true and correct of my
21              own personal knowledge.
22       1 declare under penalty of peijury of the laws of the United States and Nevada that the foregoing
23       is true and correct. Exe   ed this C day of October2015.
24
25                            —.—-—       —.
                                               N,
         JOHNFA
26
27
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                       Exhibit A
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                                                             PMSA




       Police Managers’& Supervisors’
                         Association

                                 &

              Las Vegas Metropolitan
                Police Department



                 Collective Bargaining
                      Agreement


                      July 1,2013— June 30, 2016
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 The Department \vi]I not be required to honor any bi-eekIv deduction authorizations that are delivered to the
 Payroll Section after the beginning of the pay period during which the deductions should start.

 4.3 Errors. Thu PMSA aitrees to reftmd to the Department any monies paid to it in error on account of the
 payroll deduction provisions herein upon presentation of proper evidence thereof.


                                            ARTICLE 5-ASSOCIATION RiGHTS
 5.1 Leui’’ hours. The Department agrees to provide 400 hours each fiscal year. accumulative for the duration
 of this contract. for the use of PMSA members to conduct Association business associated with the
 adtninistration of the collective bargaining agreement which is inclusive of represetitation of bargaining unit
 employees and including day to day operations. i.e.. conventions. seminars, [ruining, and lobbying during the
 legislative session. Once the maximum yearly hours are exceeded, annual leave will be used.

5.2 [units on UcL’. The PMSA agrees not to exceed six (6) individuals request for PMSA leave at one time arid
under normal circumstances, no two of the six individuals can be from the same unit or section of the
Department unless authorized by the Bureau Commander.

5.3 lssocwtioii AntIwr::ahou. The Chairman. or his designee, will determine the use otPMSA leave.

5.4 Application frr Leave, Members who have been authorized to be relieved from duty for lIme purposes above
will submit LVMPD 2 (Application For I_cave) through the chain of command to Payroll. lime application thr
leave will indicate the how’s absent are for PMSA business.

5.5 /Issoczatwn Positions. The Association will also be entitled to adopt two (2) full—time positions with an
additiona] 400 hours for the above describe use. One of the full-time positions will he from the sergeant rank.
TIns limitation to the sergeant classification will be fixed and an assigned sergeant will not have the ability to
promote in place. In the event an assigned sergeant promotes to lieutenant, the employee will he reino; ed from
the Association assignment upon date of protnotion. In the event a tUll-sitne person is appointed to serve.
he/she shall not suffer any loss of pay and will he entitled to return immediately to the assignment they left if
the assignment still exists.
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above


5.6 Inmesrigusime Procedures Labor Relations and the Association will conduct mandatory trainint regard imig
                                             —




the investigative procedures set out below. ‘I his training will be for all commissioned supervisors and CIA
investigators upon itnplemnentation. Therealicr. every new stipervisor and CIA investigator will receive this
training as well.

A. Time panics mecognize tIme rights of all police officers under NRS 239 (Addendum A). The Association will
   receive a copy of all rmutices and summaries of any internal investigation of an emnployee at the time the
   netice and swnmarv is sent to the employee via e-mail:

[3. Employees culled for a witness inlerview in an investigation will have the same rights as subject employees
    and will be entitled to Association representation during aTmy interview.

C. The paflics agree that on any investigation conducted pursuant to NRS 239, a summary of kicts will be
   provided to the subject employee who is to be interviewed. For purposes of this section. ‘‘sumrn;mry means
   a description of the ahlepation. ‘vi th the Inca lions, time amid date. if the location, time or dale arc mtnkno un.
   the not ice will so state. If there are mu It i p Ic allegations, then the somman of Ihcts mttst address all of the
   allegations and include a description of the misconduct or performance problem.


PMSA Agreement Juiy I. 2014 -                    _   June 30. 2016                                               Page 2
